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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE

IN RE:                                   )
                                         )         Case No.   09-11213
EIHAB MOHAMED SULIMAN                    )         Chapter    7
                                         )         Judge:     Boswell
         Debtor.                         )
                                         )


 RESPONSE OF DEBTOR EIHAB MOHAMED SULIMAN TO THE MOTION
  OF THE NATIONAL BOARD OF MEDICAL EXAMINERS FOR RELIEF
        FROM STAY AND REQUEST A HEARING THEREON

       Comes the Debtor, through counsel, and for response to the motion of the National
Board of Medical Examiners (“NBME”) for relief from stay would object to said motion and
request a hearing thereon. In support thereof, the following would be shown unto the
Court:

         1.    The Debtor, EIHAB MOHAMED SULIMAN, admits the allegations as
               contained in paragraph 1 of the motion filed herein.

         2.    The Debtor, EIHAB MOHAMED SULIMAN, admits the allegations as
               contained in paragraph 2 of the motion filed herein.

         3.    The Debtor, EIHAB MOHAMED SULIMAN, admits the allegations as
               contained in paragraph 3 of the motion filed herein.

         4.    The Debtor, EIHAB MOHAMED SULIMAN, admits the allegations as
               contained in paragraph 4 of the motion filed herein.

         5.    The Debtor, EIHAB MOHAMED SULIMAN, admits the allegations as
               contained in paragraph 5 of the motion filed herein.

         6.    The Debtor, EIHAB MOHAMED SULIMAN, admits the allegations as
               contained in paragraph 6 of the motion filed herein.

         7.    The Debtor, EIHAB MOHAMED SULIMAN, denies the allegations as
               contained in paragraph 7 of the motion filed herein.

         8.    The Debtor, EIHAB MOHAMED SULIMAN, denies the allegations as
               contained in paragraph 8 of the motion filed herein.


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       9.     The Debtor, EIHAB MOHAMED SULIMAN, denies the allegations as
              contained in paragraph 9 of the motion filed herein.

       10.    The Debtor, EIHAB MOHAMED SULIMAN, denies the allegations as
              contained in paragraph 10 of the motion filed herein.

       11.    Any allegation not specifically admitted or denied is denied as fully as if set
              out specifically.

WHEREFORE, the Debtor, EIHAB MOHAMED SULIMAN, prays that the motion filed
herein be dismissed with costs, if any, taxed to the Movant.


                                    Respectfully submitted,

                                    /s/ Steven L. Lefkovitz, No. 5953
                                    Steven L. Lefkovitz, No. 5953
                                    Christopher M. Kerney, No. 20819
                                    Attorneys for the Debtor
                                    5050 Poplar Ave, Suite 2418
                                    Memphis, TN 38157
                                    (901) 523-9190 fax (901) 255-4516
                                    E-Mail: slefkovitz@lefkovitz.com



                               CERTIFICATE OF SERVICE

        I hereby certify that I have sent a true and exact copy of the foregoing to the U.S.
Trustee, 200 Jefferson Avenue, Suite 400, Memphis, Tennessee 38157; to the Debtor and to
all other Creditors and Parties of Interest; by CM/ECF, on this the 4th day of May, 2009.

                                    /s/ Steven L. Lefkovitz, No. 5953
                                    Steven L. Lefkovitz/Christopher M. Kerney




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